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IN THE UNTIED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION


 In re:
                                                              CASE NO: 24-90533 (ARP)
 WELLPATH HOLDINGS, INC., et al.                              CHAPTER 11
                                                              (JOINTLY ADMINISTERED)
                          Debtors.


AS ADMINISTRATOR OF THE ESTATE OF MARC CRAWFORD, PLAINTIFF DAWN
   CRAWFORD’S OBJECTION TO ENTRY OF A FINAL ORDER ON DEBTORS’
   EMERGENCY MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS TO
  ENFORCE THE AUTOMATIC STAY OR IN THE ALTERNATIVE EXTEND THE
      AUTOMATIC STAY TO NON-DEBTOR AND DEBTOR DEFENDANTS


          Plaintiff Dawn Crawford, as administrator of the Estate of Marc Crawford, (“Plaintiff”)

by and through her undersigned counsel, hereby respectfully states as follows in support of

Plaintiff Dawn Crawford’s Objection to Entry of a Final Order on Debtors’ Emergency Motion

for Entry of Interim and Final Orders to Enforce the Automatic Stay or in the Alternative Extend

the Automatic Stay to Non-Debtor Defendants, (“Objection”):

    1. Plaintiff files this Objection to the entry of a final order on the Debtors’ Emergency

          Motion for Entry of Interim and Final Orders to Enforce the Automatic Stay or in the

          Alternative Extend the Automatic Stay to Non-Debtor Defendants, ECF No. 17. This

          Objection is filed pursuant to the dictates contained in the Amended Interim Order

          Enforcing the Automatic Stay, ECF No. 69.

    2. Plaintiff also joins the Response of Certain Claimants to Debtors’ Emergency Motion for

          Entry of Interim and Final Orders to Enforce the Automatic Stay or in the Alternative

          Extend the Automatic Stay to Non-Debtor Defendants. ECF No. 245.

    3. A Complaint was filed in the United States District Court for the Eastern District of

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   Kentucky against John Tilley (Secretary of Kentucky’s Public Safety and Justice

   Cabinet), James Erwin, Madison County Detention Center (and its agents and officers

   Doug Thomas, Tom Jones, and Nolan Winkler), Southern Health Partners, Inc. (and its

   providers Kayla Frye and Roy Washington), Kentucky State Reformatory (and its

   agents and officers Aaron Smith and Jahrell Johnson), and Debtors, as Correct Care

   Solutions, LLC (and its providers Janice Garth, Sheridan Thomas, Kirstie Proctor, and

   Dr. Elton Amos), on November 26, 2018 (the “Crawford Litigation”). The Crawford

   Litigation was docketed as Crawford v. Tilley, et al., 5:18-cv-00623-CHB-MAS.

   Plaintiff’s claims against the Debtor and the thirteen other Defendants in the Crawford

   Litigation arise out of those parties’ denial of adequate mental health care to Marc

   Crawford in 2017 while Marc Crawford was incarcerated as a pre-trial detainee in the

   custody of the Madison County Detention Center and then Kentucky State

   Reformatory, a facility serviced by Debtor in LaGrange, Kentucky.

4. Marc Crawford, a former resident of Madison County, was released from the hospital in

   early May, 2017, after having a stent placed in his kidney and following receiving care

   for a recurrence of his stage 4 lung cancer. When he was released from the hospital, he

   was hopeful that the plan developed by his oncologist for the care and treatment of his

   cancer would lead to remission and that he would eventually become cancer-free. Of

   course, at the time he was a medically vulnerable individual who had been prescribed

   multiple medications essential to his survival and the management of pain associated with

   his cancer. He had scheduled follow-up appointments for chemotherapy and consultation

   with his oncologist that he knew he needed to keep if he was to survive this recurrence of

   his cancer.

5. Unfortunately, he was arrested at his home on May 25, 2017 in relation to charges

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   arising from a traffic incident. He was then incarcerated as a pre-trial detainee at

   Madison County Detention Center (“MCDC”) from May 25, 2017 through May 30,

   2017. During this time, he was denied any medical treatment for his health issues by

   Madison County Detention Center (and its agents Tom Jones, Doug Thomas, and Nolan

   Winkler), and its healthcare provider Southern Health Partners, Inc. (and its providers

   Kayla Frye, and Roy Washington), and was subjected to numerous medical errors that

   resulted in adverse side-effects, over-medication, and deterioration of his health.

6. Crawford was eventually transported to Kentucky State Reformatory (“KSR”) on May

   31, 2017. Despite presenting with severely elevated heart rate, difficulty breathing, and a

   painfully swollen leg, the KSR medical providers refused to treat him for any of these

   medical conditions. At the time, the Debtor was the contracted healthcare provider for

   KSR inmates. Medical staff at KSR, including Janice Garth, Kirstie Proctor, and

   Sheridan Thomas, ignored Crawford’s complaints of pain, and failed to provide him with

   either his prescribed narcotics or breathing treatments. Medical staff also failed to

   provide his chemotherapy treatment. On June 20, 2017, Garth scheduled an appointment

   for Crawford with an oncologist for July 5, 2017. Unfortunately, Crawford passed away

   only four days later—on June 24—and never visited an oncologist after his arrest.

7. The allegations in the Crawford Litigation are that Crawford was a victim of a health care

   model utilized in Kentucky’s correctional facilities that runs counter to national standards

   and falls far short of meeting inmates’ critical medical needs. The Complaint alleges that

   the Kentucky Justice and Public Safety Cabinet (the “Cabinet”), MCDC, KSR, and the

   private health care providers with which they contracted, including the Debtor and

   Southern Health Partners, Inc. (“Southern Health”), had in force unconstitutional policies,

   practices, and customs that caused inmates, including Crawford, to suffer constitutional

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       deprivations in relation to the provision of health care services. Like many other

       Kentucky inmates, Crawford fell victim to this culture of indifference and suffered a

       horrible, avoidable death.

    8. The Crawford Litigation has been actively litigated over the past several years. The

       parties to the Crawford Litigation, including Debtor, were previously operating under a

       Scheduling Order, pursuant to which all parties submitted expert reports regarding

       Crawford’s claims. The Debtor’s expert reports were served upon Crawford on October

       28, 2024. The case thereafter proceeded to the expert discovery phase of litigation, with

       deadlines for the filing of summary judgment motions having been established by the

       District Court’s Scheduling Order.

    9. On November 11, 2024, the Debtor filed a voluntary Petition for Bankruptcy under

       Chapter 11 of the Bankruptcy Code. On November 12, 2024, the Debtor filed its

       Emergency Motion for Entry of Interim and Final Orders to Enforce the Automatic Stay

       or in the Alternative Extend the Automatic Stay to Non-Debtor Defendants. On the

       same day, the Court ordered that “[t]he final hearing [] on the Motion shall be held on

       December 5, 2024, at 3:00 p.m. [].1 Any objections or responses to entry of a Final

       Order on the Motion shall be filed and served on the Notice Parties and counsel to any

       statutory committees appointed in these Chapter 11 cases so as to be actually received on

       or before 4:00 p.m. [] on December 2, 2024. The Debtors shall serve a copy of this

       Interim Order on the Notice Parties within five business days of the date hereof. In the

       event that no objections to the entry of the Final Order on the Motion are timely

       received, this Court may enter such Final Order without the need for the Final Hearing.”

       “The Lawsuits are stayed in their entirety, including the plaintiffs’ claims against the

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      Upon review of the docket in this action, it appears the hearing on this Motion has been rescheduled for
      December 11, 2024, at 9:30 a.m.
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    Non-Debtor Defendants, on an interim basis pursuant to section 362 of the Bankruptcy

    Code.”

10. Debtor filed a Suggestion of Bankruptcy and Notice of Stay in the Crawford Litigation

    on November 15, 2024. The District Court entered an Order staying the Crawford

    Litigation on November 21, 2024.

11. The stay entered by this Court and corresponding stay entered by the District Court in the

    Crawford Litigation halts all ongoing litigation and collection activities against the Debtor,

    including the Crawford Litigation. It poses significant impediments to the resolution of

    Crawford’s claims not only against Debtor, but also against the other thirteen defendants

    in the Crawford Litigation, delaying the determination of liability and the damages owed

    to Crawford.

12. Plaintiff has also filed in this proceeding a Motion seeking relief from stay in this

    proceeding, which will be heard by the Court on January 9, 2025.

13. Plaintiffs’ claims against Kentucky State Reformatory, its Warden Aaron Smith, John

    Tilley, the Madison County Detention Center, and its medical providers (the “Third

    Party Crawford Defendants”) are distinct from its claims against the Debtor and

    Related Non- Debtors because they involve allegations that are either distinct from

    those relating to Marc Crawford’s medical treatment by the Debtor or involve a

    facility at which the Debtor did not provide services.

14. The Crawford Litigation should be excluded from this Court’s Final Order and the

    automatic stay be lifted because:

        a. As a preliminary matter, a majority of the Defendants named in the Crawford

             Litigation are not in the categories of non-debtor defendants as to which

             Wellpath specifically seeks a stay. See ECF No. 17 at ¶ 1 (seeking a stay as to
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     “certain Professional Corporations and their respective PC Physicians”, the

     directors and officers of certain of the Debtors’ non-Debtor affiliates”, and the

     “Debtors’ consultant and private equity sponsor, HIG”).

  b. In any event, “[t]he burden to show that the stay is applicable to a non-debtor is

     on the party invoking the say.” Gigi’s Cupcakes, LLC v. 4 Box LLC, No. 3:17-CV-

     3009-B, 2019 WL 1767003, at *3 (N.D. Tex. Apr. 22, 2019) (cleaned up), and

     none of the three bases identified by Debtor— (1) the overlapping nature of the

     claims, (2) indemnification obligations, and (3) burden to the Debtor’s Estate—

     justify the extraordinary application of a stay to the Third-Party Crawford

     Defendants in the Crawford Litigation.

  c. First, Plaintiff’s claims against the Third-Party Crawford Defendants are distinct

     from her claims against the Debtor and Related Non-Debtors. Cf. id. at *3 (stay

     appropriate where “the allegations raised against co-defendants are ‘inextricably

     interwoven’ with claims against the debtor, such that severance would be inappropriate”

     (cleaned up)). Nor do Plaintiff’s claims against the Third-Party Crawford Defendants

     involve any of the “alter- ego or similar theories” the Debtor identifies as justifying the

     need for a stay against Non-Debtors, ECF No. 17 at ¶ 28. Accordingly, Plaintiff’s

     claims against the United States can proceed without “resolv[ing] factual or legal issues

     that also affect the Debtors” or Related Non-Debtors and resolution of the stand-alone

     claims against the United States would not result in judicial inefficiency. Gigi’s

     Cupcakes, 2019 WL 1767003, at *4.

  d. Second, Debtor has no indemnification obligations with the Third-Party

     Crawford Defendants that would otherwise “establish a shared identity of

     interests.” ECF No. 17 at ¶ 29. Cf. Nat’l Oilwell Varco, L.P. v. Mud King Prod.,

     Inc., No. CIV. 4:12-3120, 2013 WL 1948766 (S.D. Tex. May 9, 2013) (“[T]he §
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           362 stay should extend to nonbankrupt codefendants only when there is a formal

           or contractual relationship between the debtor and non-debtors such that a judgment

           against one would in effect be a judgment against the other.” (emphasis added, cleaned

           up)).

       e. Finally, in light of the foregoing, continuation of the claims against the Third-

           Party Crawford Defendants will not burden, directly affect, involve, or deplete

           the resources of Debtor’s estate. In short, none of the “unusual circumstances”

           required to justify the extraordinary imposition of a stay against a non-debtor co-

           defendant are present. A.H. Robins Co. v. Piccinin, 788 F.2d 994, 999 (4th Cir.

           1986); see also id. at 999 (“[Section 362(a)(1)] is generally said to be available

           only to the debtor, not the third party defendants or co-defendants [I]n order for

           such relief for[] non-bankrupt defendants to be available under (a)(1), there must

           be ‘unusual circumstances’ and certainly something more than the mere fact that

           one of the parties to the lawsuit has filed a Chapter 11 bankruptcy must be shown

           in order that proceedings be stayed against non-bankrupt parties. This ‘unusual

           situation,’ it would seem, arises where there is such identity between the debtor

           and the third-party defendant that the debtor may be said to be the real party

           defendant and that a judgment against the third-party defendant will in effect be a

           judgment or finding against the debtor.” (emphasis added)).

15. Additionally, Plaintiff’s pre-petition federal court action against the Debtor’s Medical

   Providers should also be excluded from this Court’s Final Order and the automatic stay

   be lifted as against the Debtor’s Medical Providers for the limited purpose of allowing

   discovery into the question of whether those providers have applicable independent

   insurance beyond their contractual relationship with the Debtor.

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           a. The Crawford Litigation will serve to liquidate by a jury trial the amount of

               Plaintiff’s damages in the event that a claim against the Debtor in this bankruptcy

               does become necessary.

       WHEREFORE, Plaintiff respectfully requests that this Court sustain this Objection and

exclude from the entry of any final order the Stay Extend Motion, the continued extension of the

automatic stay as it related to action commenced by the Plaintiff, and for such other and further

relief as the Court may deem just and proper.




December 11, 2024                               Respectfully Submitted,


                                              /s/ Jessica Winters
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                                             Counsel for Plaintiff



                                   CERTIFICATE OF SERVICE

       This is to certify that on December 11, 2024, I caused a true and correct copy of the

foregoing document to be served upon the following via the Electronic Case Filing System for

the United States Bankruptcy Court for the Southern District of Texas.

                                                           /s/Jessica Winters

                                                           Counsel for Dawn Crawford




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